$2 5HY 'HWHQWLRQ2UGHU3HQGLQJ7ULDO0,:' 5HY
                       Case 1:15-cr-00105-PLM                                    ECF No. 28, PageID.50                                  Filed 06/29/15                     Page 1 of 1
                                    UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN

                             8QLWHG6WDWHVRI$PHULFD                                                                      ORDER OF DETENTION PENDING TRIAL
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                                    Sarah McKenzie                                                                         &DVH1R 1:15-cr-00105-PLM
                                             Defendant


            $IWHUFRQGXFWLQJDGHWHQWLRQKHDULQJXQGHUWKH%DLO5HIRUP$FW86& I ,FRQFOXGHWKDWWKHVHIDFWVUHTXLUH
WKDWWKHGHIHQGDQWEHGHWDLQHGSHQGLQJWULDO
                                                                                  Part I±Findings of Fact
  7KHGHIHQGDQWLVFKDUJHGZLWKDQRIIHQVHGHVFULEHGLQ86& I  DQGKDVSUHYLRXVO\EHHQFRQYLFWHGRI
               DIHGHUDORIIHQVHDVWDWHRUORFDORIIHQVHWKDWZRXOGKDYHEHHQDIHGHUDORIIHQVHLIIHGHUDOMXULVGLFWLRQKDG
               H[LVWHG±WKDWLV
                DFULPHRIYLROHQFHDVGHILQHGLQ86& D  RUDQRIIHQVHOLVWHGLQ86&E J  % IRU
                        ZKLFKWKHSULVRQWHUPLV\HDUVRUPRUH
                DQRIIHQVHIRUZKLFKWKHPD[LPXPVHQWHQFHLVGHDWKRUOLIHLPSULVRQPHQW
                DQRIIHQVHIRUZKLFKDPD[LPXPSULVRQWHUPRIWHQ\HDUVRUPRUHLVSUHVFULEHGLQ
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                DIHORQ\FRPPLWWHGDIWHUWKHGHIHQGDQWKDGEHHQFRQYLFWHGRIWZRRUPRUHSULRUIHGHUDORIIHQVHVGHVFULEHGLQ
                        86& I  $  & RUFRPSDUDEOHVWDWHRUORFDORIIHQVHV
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                                 DPLQRUYLFWLP
                                   WKHSRVVHVVLRQRUXVHRIDILUHDUPRUGHVWUXFWLYHGHYLFHRUDQ\RWKHUGDQJHURXVZHDSRQ
                                   DIDLOXUHWRUHJLVWHUXQGHU86&
  7KHRIIHQVHGHVFULEHGLQILQGLQJ  ZDVFRPPLWWHGZKLOHWKHGHIHQGDQWZDVRQUHOHDVHSHQGLQJWULDOIRUDIHGHUDOVWDWH
               RUORFDORIIHQVH
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               RIIHQVHGHVFULEHGLQILQGLQJ  
  )LQGLQJV    DQG  HVWDEOLVKDUHEXWWDEOHSUHVXPSWLRQWKDWQRFRQGLWLRQZLOOUHDVRQDEO\DVVXUHWKHVDIHW\RIDQRWKHU
               SHUVRQRUWKHFRPPXQLW\,IXUWKHUILQGWKDWGHIHQGDQWKDVQRWUHEXWWHGWKDWSUHVXPSWLRQ
                                                                                  Alternative Findings (A)
  ✔  7KHUHLVSUREDEOHFDXVHWREHOLHYHWKDWWKHGHIHQGDQWKDVFRPPLWWHGDQRIIHQVH
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                  ✔ IRUZKLFKDPD[LPXPSULVRQWHUPRIWHQ\HDUVRUPRUHLVSUHVFULEHGLQ
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                         Controlled Substances Act (21 U.S.C. 801 et seq.)
                XQGHU86& F 
  ✔  7KHGHIHQGDQWKDVQRWUHEXWWHGWKHSUHVXPSWLRQHVWDEOLVKHGE\ILQGLQJ  WKDWQRFRQGLWLRQRUFRPELQDWLRQRIFRQGLWLRQV
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               ZLOOUHDVRQDEO\DVVXUHWKHGHIHQGDQW¶VDSSHDUDQFHDQGWKHVDIHW\RIWKHFRPPXQLW\
                                                                                  Alternative Findings (B)
  ✔  7KHUHLVDVHULRXVULVNWKDWWKHGHIHQGDQWZLOOQRWDSSHDU

  7KHUHLVDVHULRXVULVNWKDWWKHGHIHQGDQWZLOOHQGDQJHUWKHVDIHW\RIDQRWKHUSHUVRQRUWKHFRPPXQLW\
                                                             Part II – Statement of the Reasons for Detention
            ,ILQGWKDWWKHWHVWLPRQ\DQGLQIRUPDWLRQVXEPLWWHGDWWKHGHWHQWLRQKHDULQJHVWDEOLVKHVE\FOHDUDQGFRQYLQFLQJ
                ✔
HYLGHQFHDSUHSRQGHUDQFHRIWKHHYLGHQFHWKDW
  1. Defendant faces very serious charges with a minimum 10 year sentence. The evidence in support of these charges is very
  strong.
  2. Defendant has a history of substance abuse.
  3. When arrested, defendant was in a car with a passport and a change of clothing.
  4. Evidence presented at the detention hearing supported that defendant was in control of a large methamphetamine selling
  conspiracy.
  5. Defendant has ties to drug sources in Mexico and is apparently fluent in Spanish.
                                                                    Part III – Directions Regarding Detention
            7KHGHIHQGDQWLVFRPPLWWHGWRWKHFXVWRG\RIWKH$WWRUQH\*HQHUDORUDGHVLJQDWHGUHSUHVHQWDWLYHIRUFRQILQHPHQWLQD
FRUUHFWLRQVIDFLOLW\VHSDUDWHWRWKHH[WHQWSUDFWLFDEOHIURPSHUVRQVDZDLWLQJRUVHUYLQJVHQWHQFHVRUKHOGLQFXVWRG\SHQGLQJ
DSSHDO7KHGHIHQGDQWPXVWEHDIIRUGHGDUHDVRQDEOHRSSRUWXQLW\WRFRQVXOWSULYDWHO\ZLWKGHIHQVHFRXQVHO2QRUGHURI8QLWHG
6WDWHV&RXUWRURQUHTXHVWRIDQDWWRUQH\IRUWKH*RYHUQPHQWWKHSHUVRQLQFKDUJHRIWKHFRUUHFWLRQVIDFLOLW\PXVWGHOLYHUWKH
GHIHQGDQWWRWKH8QLWHG6WDWHVPDUVKDOIRUDFRXUWDSSHDUDQFH
 Date:                 June 29, 2015                                                Judge’s Signature: /s/ Ellen S. Carmody
                                                                                        Name and Title: Ellen S. Carmody, U.S. Magistrate Judge

 ,QVHUWDVDSSOLFDEOH D &RQWUROOHG6XEVWDQFHV$FW 86&HWVHT  E &RQWUROOHG6XEVWDQFHV,PSRUWDQG([SRUW$FW 86&HWVHT RU F 6HFWLRQRI$FWRI6HSW 86&D 
